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                 EXHIBIT 2
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                      IN THE UNITED STATES COURT OR APPEALS

                               FOR THE ELEVENTH CIRCUIT
                                _________________________

                                      No. 22-11150-GG
                                 _________________________

IRA KLEIMAN,
as the Personal Representative of the
Estate of David Kleiman,

                                                                              Plaintiff-Appellant,

W&K INFO DEFENSE RESEARCH, LLC

                                                                                         Plaintiff,

                                             versus

CRAIG WRIGHT,

                                                                              Defendant-Appellee

                                 _________________________

                          Appeal from the United States District Court
                              for the Southern District of Florida
                                _________________________



                   DECLARATION OF DEVIN (VELVEL) FREEDMAN

       I, Devin (Velvel) Freedman, make this Declaration pursuant to 28 U.S.C. § 1746 and the

Court’s order dated November 8, 2022, and hereby declare under penalty of perjury that the

following statements are true and correct:

       1.      I am counsel for Plaintiff-Appellant in this matter and submit this Declaration on

behalf of myself, and on behalf of my law firm, Freedman Normand Friedland LLP (f/k/a Roche

Freedman LLP) (the “Firm”).
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        2.      In addition to the persons and entities listed in Plaintiff-Appellant’s Certificate of

Interested Persons, the following persons and entities either have, or may claim, an interest in the

outcome of this appeal:

             a. Jason Cyrulnik, who is a former attorney at the Firm and claims an interest, which

                the Firm disputes, in any fees paid to the Firm in connection with this matter; and

             b. Opportunistic Resources, LLC, which provided funding to the Firm at its

                founding in July 2019 (which post-dated the commencement of the litigation

                below by more than one year).

        3.      For the avoidance of doubt, neither of the persons or entities listed above is

controlled by Ava Labs or its principals, and neither Ava Labs nor its principals have any

beneficial or equitable interest in those persons or entities. Moreover, the foregoing persons and

entities do not have any direct interests in the outcome of this appeal; to the extent that they have

any interest at all, it is indirect, derivative of the Firm’s interest, and attenuated. The Firm is

nevertheless disclosing those potential interests in an abundance of caution.

        4.      Plaintiff-Appellant Ira Kleiman, as personal representative of the Estate of David

Kleiman, has been informed of the alleged conflict discussed in the appellee’s motion.

        5.      The requirements of ABA Model Rule 1.7(b) are satisfied because I and my Firm

reasonably believe that we will be able to provide competent and diligent representation of any

allegedly affected client, the representation is not prohibited by law, the representation does not

involve the assertion of a claim by one client against another client that we represent in the same

litigation, and Mr. Kleiman has provided informed consent, confirmed in writing.
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       I, Devin (Velvel) Freedman, declare under penalty of perjury, that the foregoing is true

and correct.



                                            _/s/ Devin (Velvel) Freedman___________

                                            Devin (Velvel) Freedman
